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         ORDERED in the Southern District of Florida on May 10, 2023.



                                                                       Peter D. Russin, Judge
                                                                       United States Bankruptcy Court
_____________________________________________________________________________



                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                           FORT LAUDERDALE DIVISION
                                                www.flsb.uscourts.gov

          In re:                                                    Chapter 11 Cases

          VITAL PHARMACEUTICALS, INC., et al.,                      Case No. 22-17842 (PDR)
                                                                    (Jointly Administered)
                      Debtors.1
                                                              /

          VITAL PHARMACEUTICALS, INC., et al.

                             Plaintiffs,

          v.

          JOHN H. OWOC and MEGAN E. OWOC,                           Adv. Pro. No. 23-01051 (PDR)

                             Defendants.
                                                              /


         1 The Debtors include (i) Vital Pharmaceuticals, Inc.; (ii) Bang Energy Canada, Inc.; (iii) JHO Intellectual Property
           Holdings, LLC; (iv) JHO Real Estate Investment, LLC; (v) Quash Seltzer, LLC; (vi) Rainbow Unicorn Bev LLC;
           and (vii) Vital Pharmaceuticals International Sales, Inc. The address of the Debtors is 1600 N. Park Drive, Weston,
           FL 33326. The last four digits of the Debtors’ federal tax identification numbers are: (i) Vital Pharmaceuticals,
           Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO
           Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and
           (vii) Vital Pharmaceuticals International Sales, Inc. (8019).


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ORDER HOLDING DEFENDANT, JOHN H. OWOC, IN CONTEMPT OF COURT FOR
       FAILURE TO COMPLY WITH ORDER GRANTING PLAINTIFFS’
           EMERGENCY MOTION FOR CONTEMPT [ECF NO. 61]

         THIS MATTER came before the Court on May 1, 2023, at 2:00 p.m. in Fort Lauderdale,

Florida, upon the status conference in the above-captioned adversary proceeding. The Court,

having considered the Court file and arguments of counsel, having been advised by Plaintiffs that

Defendant John H. Owoc (“Mr. Owoc”) failed to comply with paragraph 4 of this Court’s Order

Granting Plaintiffs’ Emergency Motion for Contempt [ECF No. 61] dated April 25, 2023 (the

“Contempt Order”), and being duly advised in the premises and for the reasons stated on the

record, it is

         ORDERED that:

         1.     Mr. Owoc is found to be in contempt of Court for failure to comply with paragraph

4 of the Contempt Order for the reasons stated on the record.

         2.     The imposition of sanctions against Mr. Owoc for his failure to comply with

paragraph 4 of the Contempt Order, including, but not limited to, Plaintiffs’ attorneys’ fees and

costs, will be determined upon motion filed by Plaintiffs and further order of the Court.

         3.     This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.

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Submitted by:
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(Attorney Guso is directed to serve this order upon all non-registered users who have yet to appear
electronically in this case and file a conforming certificate of service.)




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